     Case 3:19-cv-00315-MMD-CSD Document 103 Filed 05/31/24 Page 1 of 2



 1   DEMETRAS LAW
     J. Craig Demetras
 2
     Nevada Bar. No. 4246
 3
     230 E. Liberty Street
     Reno, NV 89501
 4   (Telephone): 775-348-4600
     jcd@demetraslaw.com
 5   mail@demetraslaw.com
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE DISTRICT OF NEVADA

 8                                                    Case No.: 3:19-CV-00315-MMD-CLB
      BRANDSTORM, INC., a California
 9    Corporation
                                                       ORDER GRANTING STIPULATION
10
                     Plaintiffs,                       FOR DISMISSAL WITH PREJUDICE
            vs.                                        (F.R.CIV.P.41(a)(1)(A)
11

12    GLOBAL         STERILZATION          AND
      FUMIGATION,        INC.,     a    Nevada
13    Corporation, BRYAN GARDNER, an
      individual, and DOES 1-10, Inclusive,
14

15                Defendants.
      __________________________________/
16

17
            Plaintiff, BRANDSTORM, INC., a California Corporation and Defendants Global
18
     Sterilization and Fumigation, Inc., a Nevada Corporation, and Bryan Gardner, an individual,
19
     stipulate pursuant to F.R.Civ.P. 41(a)(1)(A) that this action be dismissed with prejudice, with
20
     each party to bear its own fees and costs.
21
            DATED this 30th day of May, 2024.
22
     DEMETRAS LAW                                          CASTRONOVA LAW OFFICES
23

24
     By: /s/ J. Craig Demetras                             By: /s/ Stephen Castronova
25   J. CRAIG DEMETRAS                                     Stephen Castronova
26   Nevada Bar No. 4246                                   Nevada Bar No. 7305
     230 E. Liberty Street                                 605 Forest Street
27   Reno, NV 89501                                        Reno, NV 89509
     Tel.: 775-348-4600                                    Tel.: 775-323-2646
28
     Attorneys for Plaintiffs                              Attorneys for Defendants


                                                     -1-
     Case 3:19-cv-00315-MMD-CSD Document 103 Filed 05/31/24 Page 2 of 2



 1                                           ORDER
 2
          This action is dismissed with prejudice with each party to bear its own fees and costs.
 3
      The Clerk of the Court is directed to close this case.
 4

 5
                                                       IT IS SO ORDERED
 6
      DATED the 31st day of May 2024.
 7

 8                                                     ___________________________________
                                                       CHIEF U.S. DISTRICT JUDGE
 9

10

11

12

13

14

15

16                               CERTIFICATE OF SERVICE
17       I certify that I am an employee of Demetras Law, and on May 30, 2024, I served a true

18   and correct copy of STIPULATION FOR DISMSISAL WITH PREJUDICE by e-mail on
19
     the following party as described below:
20
     CASTRONOVA LAW OFFICES, PC
21   Stephen G. Castronova, Esq.
     605 Forest Street
22   Reno, NV 89509
     sgc@castronovalaw.com
23
     Attorney for Global Sterilization and Fumigation, Inc.
24

25   DATED: May 30, 2024

26

27                                                             /s/ Julie Ann Raum
                                                               By: Julie Ann Raum
28                                                             An employee of Demetras Law



                                                     -2-
